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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: 23ANDME, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                                                        MDL No. 3098



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −1)



On April 11, 2024, the Panel transferred 2 civil action(s) to the United States District Court for the Northern
District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
_F.Supp.3d_ (J.P.M.L. 2024). Since that time, no additional action(s) have been transferred to the Northern
District of California. With the consent of that court, all such actions have been assigned to the Honorable
Edward M. Chen.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Chen.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of April 11, 2024, and, with the consent of that court, assigned to
the Honorable Edward M. Chen.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:

     Apr 22, 2024

                                                            Tiffaney D. Pete
                                                            Clerk of the Panel
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IN RE: 23ANDME, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                          MDL No. 3098



                     SCHEDULE CTO−1 − TAG−ALONG ACTIONS



  DIST      DIV.      C.A.NO.      CASE CAPTION


ILLINOIS NORTHERN

  ILN         1       23−17079     Hu v. 23andMe, Inc.
